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 7

 8                             UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 9                                    SANTA ANA DIVISION
10
      In re Marc Joseph Spizzirri,                       CASE NUMBER: 8:13-bk-14702-MW
11
                                                         CHAPTER 11
12

13
                                                         SUPPLEMENT IN SUPPORT OF
                                                         U.S. TRUSTEE’S MOTION TO CONVERT
14
                                                         CASE TO CHAPTER 7 PURSUANT TO
15
                                                         11 U.S.C. §1112(b); EXHIBITS

16               Debtor in Possession                    DATE: April 21, 2014
                                                         TIME: 2:00 p.m.
17                                                       CTRM: 6C

18

19          The United States Trustee for Region 16 (“U.S. Trustee”) submits the following
20
     supplement in support of his Motion to Convert Case to One Under Chapter 7 (the “Motion”),
21
     which was filed on March 13, 2014.
22
            As fully set forth in the Motion, the U.S. Trustee has serious concerns regarding the
23

24   Debtor’s ability to reorganize and the reliability of the financial reports submitted. In

25   response to the Motion, the Debtor filed six amended monthly operating reports (“MORs”)
26
     which radically changed the Debtor’s reported financial position. However, the information
27

28


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     contained in the amended MORs raise more questions regarding the Debtor’s financial
 1

 2   condition and whether he has acted as a proper fiduciary during the pendency of this case.

 3         AMENDED MORS DISCLOSE THAT SUBSTANTIAL FUNDS HAVE
           BEEN DEPOSTIED INTO AND PAID OUT OF AN UNSCHEDULED
 4
           ACCOUNT IN THE NAME OF THE DEBTOR’S SPOUSE
 5

 6         Almost two weeks after the U.S. Trustee filed the Motion, which inter alia noted that
 7
     Debtor’s failure to account for basic household expenses such as food and gasoline, the
 8
     Debtor filed amended MORs for the months of June 2013 through December 2013. The
 9
     amended MORs report on substantial financial activity in a California Bank & Trust account
10

11
     no. 9716 in the name of Candace C. Spizzirri POD Marc Spizzirri (“Account 9716”).

12   Significantly, Account 9716 was not among the three California Bank & Trust accounts

13   listed on Schedule B, even though the Debtor should have, at least, a community property
14
     interest in this asset. See Schedule B at Exhibit B attached to the Motion.
15
                  DEBTOR FAILS TO DISCLOSE THE SOURCE OF
16                FUNDS DEPOSITED INTO ACCOUNT 9716
17
           In connection with the six amended MORs, the Debtor has filed copies of applicable
18
     bank statements for Account 9716; however, the July 2013 statement was not provided.
19
     The statements that were provided show substantial deposits made into Account 9716
20

21   during the pendency of Debtor’s case, but fail to disclose the source of such payments.

22   Since Schedule I reports that the Debtor’s spouse, Candace Spizzirri, earns no income,
23
     substantial questions arise as to the source of the deposits into Account 9716 and whether
24
     these funds were estate assets which should instead have been deposited into the Debtor’s
25
     DIP account. See Schedule I at Exhibit B attached to the Motion.
26

27

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                DEBTOR FAILS TO DISCLOSE WHY A $55,000 DEPOSIT WAS MADE INTO
 1
                ACCOUNT 9716 ON THE SAME DAY AS HIS CHAPTER 11 FILING AND
 2              WHY A $50,000 LOAN WAS MADE TO DEBTOR’S COMPANY
                FROM THAT ACCOUNT THE DAY AFTER THE FILING
 3

 4
           Some of the transactions noted in Account 9716 raise substantial concern. On May
 5
     30, 2013, the date of the Debtor’s Chapter 11 filing, a $55,000 deposit was made into his
 6
     wife’s account -- Account 9716. The next day, May 31, 2013, a $50,000 check written from
 7

 8
     Account 9716 payable to Family Equities cleared. The payment was disclosed and

 9   described (for the first time) on the amended June 2013 MOR as a “loan re Family
10   Collectibles, LLC, ” which is listed as an estate asset on Schedule B. See Schedule B
11
     attached as Exhibit B to the Motion and Amended June MOR attached as Exhibit A hereto.
12
     No explanation or Court authorization has been provided for this post-petition “loan” and it
13
     was not disclosed until recently, when amended MORs were filed in response to the Motion.
14

15                   AMENDED MORS REPORT RADICALLY
                     DIFFERENT INCOME AND EXPENSES
16

17
           Debtor’s amended MORs report substantial financial activity that went unreported for
18
     months. While his original June 2013 MOR reported no deposits for the month, the
19
     amended MOR for the same month reports deposits of $70,100, all of which were made to
20

21   Account 9716 rather than to the DIP account. As noted earlier, there is no information

22   regarding the source of these deposits which would enable interested parties to determine
23
     whether these deposits were estate funds which should have been maintained in the DIP
24
     account.
25
           Until the Motion was filed, the Debtor’s original MORs substantially understated
26

27
     deposits and withdrawals. While original MORs list total deposits of $43,437 from June 2013

28   through December 2013. amended MORs for the same period reported deposits of

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     $148,036. Similarly, reported withdrawals for the six month period were modified form
 1

 2   $39,938 to $162,204. See spreadsheet summarizing deposits and disbursements in original

 3   and amended MORs, together with original and amended MORS for June 2013 through
 4
     December 2013 at Exhibits A and B attached hereto. These significant amendments
 5
     indicate that the Debtor’s original financial reporting was woefully inaccurate.
 6
                   FEBRUARY 2014 MOR REPORTS NEGATIVE BANK BALANCE
 7

 8
            In addition to the information gleaned from the amended MORs, the Debtor’s most

 9   current financial report, which covers the month of February 2014, provides additional
10   concern regarding the Debtor’s ability to fund a reorganization as it reports a negative month
11
     end balance of $719. See February 2014 MOR at Exhibit E.
12
                                        CONCLUSION
13
            Based on the foregoing, the U.S. Trustee respectfully requests that the Court grant
14

15   the Motion and convert the Debtor’s case to one under Chapter 7.

16

17                                             Respectfully Submitted,
18
     Dated: April 3, 2014                      /s/ Nancy S. Goldenberg
19                                             NANCY S. GOLDENBERG
                                               Attorney for U.S. Trustee
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                               EXHIBIT "A"                              000002
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Case
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                        Doc 298
                            288 Filed
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                               EXHIBIT "A"                              000004
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                               EXHIBIT "A"                             000005
Case
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                        Doc 298
                            288 Filed
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                               EXHIBIT "A"                             000006
Case
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                        Doc 298
                            288 Filed
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                                       03/26/14 Entered
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                               EXHIBIT "A"                             000007
Case
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                        Doc 298
                            288 Filed
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                               EXHIBIT "A"                             000008
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                        Doc 298
                            288 Filed
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                               EXHIBIT "A"                             000009
Case
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                        Doc 298
                            288 Filed
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                               EXHIBIT "A"                             000010
Case
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                        Doc 298
                            288 Filed
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Case
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                        Doc 298
                            288 Filed
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Case
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                        Doc 298
                            288 Filed
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                            288 Filed
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Case
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                        Doc 298
                            288 Filed
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                            288 Filed
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Marc Joseph Spizzirri
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                                                                     Amended       Amended
                                                                       MORs          MORs
             Original        Original      Original                     filed         filed
              MORs            MORs          MORs                     3/26/2014     3/26/2014
              Filing      Deposits      Disburse.                     Deposits      Disburse.
Period        Date        Identified    Identified     Period        Identified    Identified

  Jun‐13       8/1/2013         $0.00        $100.00       Jun‐13     $70,100.00    $68,811.17
   Jul‐13     8/21/2013    $11,510.00      $1,745.87        Jul‐13    $19,510.00    $10,876.52
  Aug‐13      9/17/2013    $12,593.74     $12,138.80       Aug‐13     $19,793.14    $19,351.95
  Sep‐13     10/16/2013         $0.00      $9,172.17       Sep‐13      $4,300.00    $13,521.38
  Oct‐13     11/22/2013     $4,333.50      $4,905.68       Oct‐13      $8,333.50     $7,478.29
  Nov‐13       1/3/2014         $0.00        $137.85       Nov‐13      $3,000.00     $3,535.98
  Dec‐13      1/10/2014    $15,000.00     $11,737.86       Dec‐13     $23,000.00    $20,627.77


                                                           Jan‐14      $9,788.03    $12,478.56
                                                           Feb‐14      $3,650.00     $5,523.11

June‐Dec. totals           $43,437.24    $39,938.23                  $148,036.64   $162,204.73




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Case
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     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000039
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000040
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000041
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000042
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000043
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed08/21/13
                           78 Filed  04/03/14 Entered
                                               Entered08/21/13
                                                       04/03/1410:11:25
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000044
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000045
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000046
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000047
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000048
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000049
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000050
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000051
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000052
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
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Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000054
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000055
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000056
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000057
Case
Case8:13-bk-14702-MW
     8:13-bk-14702-MW Doc
                      Doc298   Filed09/17/13
                           98 Filed  04/03/14 Entered
                                               Entered09/17/13
                                                       04/03/1416:03:17
                                                                11:30:21 Desc
                                                                         Desc
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                              EXHIBIT "B"                          000058
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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                               EXHIBIT "B"                             000059
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000060
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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                               EXHIBIT "B"                             000061
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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                               EXHIBIT "B"                             000062
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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                               EXHIBIT "B"                             000063
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000064
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
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                               EXHIBIT "B"                             000067
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000068
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000069
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000070
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            132 Filed
                                 Filed 04/03/14
                                       10/16/13 Entered
                                                 Entered 04/03/14
                                                         10/16/13 11:30:21
                                                                  12:02:39   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000071
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000072
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000073
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000074
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
                                                                             Desc
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                               EXHIBIT "B"                             000075
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000076
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000077
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000078
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000079
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000080
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000081
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000082
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000083
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            177 Filed
                                 Filed 04/03/14
                                       11/22/13 Entered
                                                 Entered 04/03/14
                                                         11/22/13 11:30:21
                                                                  15:04:59   Desc
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                               EXHIBIT "B"                             000084
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000085
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000086
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000087
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000088
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000089
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
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                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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                               EXHIBIT "B"                             000092
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                            201 Filed
                                 Filed 04/03/14
                                       01/03/14 Entered
                                                 Entered 04/03/14
                                                         01/03/14 11:30:21
                                                                  12:24:38   Desc
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Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             201 Filed
                                  Filed 04/03/14
                                        01/03/14 Entered
                                                  Entered 04/03/14
                                                           01/03/14 11:30:21
                                                                    12:24:38   Desc
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                                EXHIBIT "B"                              000094
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             201 Filed
                                  Filed 04/03/14
                                        01/03/14 Entered
                                                  Entered 04/03/14
                                                           01/03/14 11:30:21
                                                                    12:24:38   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000095
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000096
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
                        Main Document
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                                EXHIBIT "B"                             000097
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000098
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000099
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000100
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000101
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000102
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000103
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                          01/10/14 11:30:21
                                                                   13:22:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000104
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                           01/10/14 11:30:21
                                                                    13:22:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000105
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             212 Filed
                                  Filed 04/03/14
                                        01/10/14 Entered
                                                  Entered 04/03/14
                                                           01/10/14 11:30:21
                                                                    13:22:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000106
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000107
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000108
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000109
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000110
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000111
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000112
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000113
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000114
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:54:59   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000115
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000116
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000117
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000118
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000119
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000120
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000121
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000122
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000123
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             289 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:54:59   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000124
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000125
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
                        Main Document
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                                EXHIBIT "B"                             000126
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000127
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000128
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
                        Main Document
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                                EXHIBIT "B"                             000129
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000130
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000131
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
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                                EXHIBIT "B"                             000132
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:56:26   Desc
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                                EXHIBIT "B"                             000133
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000134
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000135
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000136
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000137
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000138
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000139
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000140
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000141
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             290 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:56:26   Desc
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                                EXHIBIT "B"                              000142
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
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                                EXHIBIT "B"                             000143
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
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                                EXHIBIT "B"                             000144
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
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                                EXHIBIT "B"                             000145
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
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                                EXHIBIT "B"                             000146
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000147
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000148
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
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                                EXHIBIT "B"                             000149
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000150
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:57:49   Desc
                                                                              Desc
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                                EXHIBIT "B"                             000151
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000152
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000153
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000154
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000155
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000156
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000157
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000158
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
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                                EXHIBIT "B"                              000159
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
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                                EXHIBIT "B"                              000160
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             291 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:57:49   Desc
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                                EXHIBIT "B"                              000161
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000162
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000163
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000164
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000165
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000166
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000167
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000168
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000169
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   20:59:06   Desc
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                                EXHIBIT "B"                             000170
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000171
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000172
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000173
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000174
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000175
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000176
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000177
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
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                                EXHIBIT "B"                              000178
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             292 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                           03/26/14 11:30:21
                                                                    20:59:06   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000179
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000180
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000181
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000182
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000183
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000184
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000185
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
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                               EXHIBIT "B"                             000186
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000187
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
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                               EXHIBIT "B"                             000188
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000189
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000190
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
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                               EXHIBIT "B"                             000191
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
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                                                                             Desc
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                               EXHIBIT "B"                             000192
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
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                               EXHIBIT "B"                             000193
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
                                                                             Desc
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                               EXHIBIT "B"                             000194
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                         Doc 298
                             293 Filed  04/03/14 Entered
                                  Filed 03/26/14  Entered 03/26/14
                                                           04/03/14 21:00:19
                                                                    11:30:21 Desc
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                               EXHIBIT "B"                             000195
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000196
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000197
Case
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     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000198
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
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                                EXHIBIT "B"                             000199
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000200
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000202
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000203
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:01:36   Desc
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                                EXHIBIT "B"                             000204
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "B"                              000205
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
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                                EXHIBIT "B"                              000206
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
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                                EXHIBIT "B"                              000207
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000208
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000209
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
                                                                               Desc
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                                EXHIBIT "B"                              000210
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
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                                EXHIBIT "B"                              000211
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
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                                EXHIBIT "B"                              000212
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
                                                                    21:01:36   Desc
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                                EXHIBIT "B"                              000213
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             294 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
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                                EXHIBIT "B"                              000214
Case 8:13-bk-14702-MW   Doc 298 Filed 04/03/14 Entered 04/03/14 11:30:21   Desc
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Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                        Main Document
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                                EXHIBIT "C"                             000215
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                                EXHIBIT "C"                             000216
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                                EXHIBIT "C"                             000217
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                        Main Document
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                                EXHIBIT "C"                             000218
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                                EXHIBIT "C"                             000219
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
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                                EXHIBIT "C"                             000220
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                          03/26/14 11:30:21
                                                                   21:04:20   Desc
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                        Main Document
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                                EXHIBIT "C"                             000221
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
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                                EXHIBIT "C"                             000222
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                             000223
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000224
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000225
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
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                                EXHIBIT "C"                              000226
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000227
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000228
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000229
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
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                                EXHIBIT "C"                              000230
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
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                                EXHIBIT "C"                              000231
Case
Case 8:13-bk-14702-MW
     8:13-bk-14702-MW   Doc
                        Doc 298
                             296 Filed
                                  Filed 04/03/14
                                        03/26/14 Entered
                                                  Entered 04/03/14
                                                           03/26/14 11:30:21
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                                EXHIBIT "C"                              000232
        Case 8:13-bk-14702-MW                    Doc 298 Filed 04/03/14 Entered 04/03/14 11:30:21                                        Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

OFFICE OF THE U.S. TRUSTEE, 411 W. 4th St., #9041, Santa Ana, CA 92701

A true and correct copy of the foregoing document entitled (specify): SUPPLEMENT IN SUPPORT OF
U.S. TRUSTEE’S MOTION TO CONVERT CASE TO CHAPTER 7 PURSUANT TO 11 U.S.C. §1112(b); EXHIBITS will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 3,
2014, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

SEE ATTACHED PAGE

2. SERVED BY UNITED STATES MAIL: On April 3, 2014, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Marc Joseph Spizzirri
        30721 Hunt Club Drive
        San Juan Capistrano, CA 92675


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 3, 2014, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Mark S. Wallace--bin on the 6th fl.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  4/3/14                      Daniel Sheehan                                                    /s/ Daniel Sheehan
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:13-bk-14702-MW                    Doc 298 Filed 04/03/14 Entered 04/03/14 11:30:21                                        Desc
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 3,
2014, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


       Dan E Chambers dchambers@clfca.com
       Ronald R Cohn rcohn@horganrosen.com
       Caroline Djang cdjang@rutan.com
       Nichole Glowin nglowin@wrightlegal.net, bkgroup@wrightlegal.net
       Robert P Goe , rgoe@goeforlaw.com;mforsythe@goeforlaw.com
       Christina Goebelsmann cgoebelsmann@wargofrench.com
       Nancy S Goldenberg nancy.goldenberg@usdoj.gov
       Brian T Harvey bharvey@buchalter.com, IFS_filing@buchalter.com;rreeder@buchalter.com
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       Stephen E Hyam shyam@clarktrev.com
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       Derrick Talerico dtalerico@lntlaw.com, nlockwood@lntlaw.com;jokeefe@lntlaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Michael J. Weiland mweiland@wgllp.com, lfisk@wgllp.com
       Barouir B Yeretzian byeretzian@jhindslaw.com, yeretzian@gmail.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
